Case 5:08-cr-00002-DF-CMC                 Document 66         Filed 05/23/08       Page 1 of 1 PageID #:
                                                 408


                                United States District Court
                                       EASTERN DISTRICT OF TEXAS
                                          TEXARKANA DIVISION


    UNITED STATES OF AMERICA                           §
                                                       §
    V.                                                 §            CASE NO. 5:08CR2(3)
                                                       §
    JOSE LUIS GARCIA-VASQUEZ                           §


                  ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND
                            FINDING DEFENDANT GUILTY

            On this day, the Court considered the Findings of Fact and Recommendation of United States

    Magistrate Judge Caroline M. Craven regarding Defendants’ plea of guilty to Count 1 of an Indictment in

    violation of Title 18, USC, Section 371, Conspiracy to Commit Fraud in Connection with Identification

    Documents. Having conducted a proceeding in the form and manner prescribed by Fed. R. Crim. P. 11, the

    Magistrate Judge recommends that the Court accept the guilty plea of the Defendant. Objections to the

    Findings of Fact and Recommendation have been waived by all parties. The Court is of the opinion that the

    Findings of Fact and Recommendation should be accepted.

            It is accordingly ORDERED that the Findings of Fact and Recommendation of the United States
.
    Magistrate Judge, filed May 21, 2008, are hereby ADOPTED.

            It is further ORDERED that, pursuant to Defendant’s plea agreement, the Court finds Defendant

    GUILTY of Count 1 of the Indictment in the above-numbered cause.


            SIGNED this 23rd day of May, 2008.




                                                           ____________________________________
                                                           DAVID FOLSOM
                                                           UNITED STATES DISTRICT JUDGE
